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“April 16, 2014 : en

> The United States District Court for the Middle District of PA
_-. The Honorable Richard P. Conaboy

. 235 North Washington Avenue __
Soran, PA 18503 :

Re: ‘Clemens v. New York Central Mutual Insurance, et al.
Docket #: 3: 13-CV- 02447

Dear Judge Conaboy:.

Tam: writing to advise this Honorable Court of an ongoing discovery disputes between the
parties for Which Plaintitis require this. Honorable Court’ s involvement.

In accordance with local. rules, Plaintif? S counsel contacted defense counsel i in a good —
» faith effort to resolve the discovery disputes 1 in an effort to resolve by. agreement these i issues -
‘without the intervention of the court.

a - Plaintiffs’ counsel will make themselves available at the Court’ S convenience | for a -
Bie discovery conference. If the Court would prefer that Plaintiff file a more formal motion seeking
a Court order, we e will gladly do so. :

      
 

Respectffily submitted,

: e Albright, Esquire

“LAjvh
“CCt Bryon, R. Kaster, Esquire. -
- Charles E. Haddick, Jr., Esquire

LACKAWANNA + “LUZERNE + » SUSQUEHANNA - + MONROE + “WAYNE + “WYOMING + BRADFORD ‘LYCOMING + BERKS’ DAUPHIN + ‘SOMERSET © “WASHINGTON
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